Case 3:18-cv-10639-RHC-SDD ECF No. 20 filed 10/05/18                PageID.311     Page 1 of 2



                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
_____________________________________________________________________

FRANCINE ZYSK,

                      Plaintiff,

v.                                                                Case No. 18-10639


THERESA M. BRENNAN, in her
individual and official capacities,

                Defendant.
_______________________________________/

             ORDER DENYING PLAINTIFF’S MOTION FOR DISCOVERY

       Plaintiff Francine Zysk filed a complaint against Defendant Theresa Brennan, in

her individual and official capacities, alleging First Amendment retaliation in violation of

42 U.S.C. § 1983 and defamation. (Dkt. #1). Defendant Brennan filed a motion to strike

parts of the complaint (Dkt. # 7) and a motion to dismiss the case (Dkt. #18), which are

pending before the court. Plaintiff subsequently filed a motion for discovery (Dkt. # 17).

       In the interest of judicial and litigant economy, the court will deny Plaintiff’s

motion for discovery pending the resolution of the motion to dismiss (Dkt. # 7).

       Accordingly,

       IT IS ORDERED that Plaintiff’s motion for discovery (Dkt. # 17) is DENIED.



                                                   s/Robert H. Cleland
                                                   ROBERT H. CLELAND
                                                   UNITED STATES DISTRICT JUDGE
Dated: October 5, 2018
Case 3:18-cv-10639-RHC-SDD ECF No. 20 filed 10/05/18          PageID.312     Page 2 of 2




I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, October 5, 2018, by electronic and/or ordinary mail.


                                                s/Lisa Wagner
                                                Case Manager and Deputy Clerk
                                                (810) 292-6522




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